Case 5:08-cr-50026-TLB Document 130   Filed 01/23/09 Page 1 of 2 PageID #: 338



                IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF ARKANSAS
                        FAYETTEVILLE DIVISION



CRIMINAL NO. 08-50026-005               USA v. KENIA CHAVARRIA

COURT PERSONNEL:                        APPEARANCES:

Judge: JIMM LARRY HENDREN               Govt. KENNY ELSER

Clerk: GAIL GARNER                      Deft. STEPHEN L. TAYLOR

Reporter: THERESA SAWYER                Interpreter: ANNE YANCEY

                       SENTENCING MINUTE SHEET


     On this date the above named defendant appeared in person and
with counsel for sentencing and is sworn.

     (X)   Inquiry made that defendant is not under influence of
           alcohol or drugs and is able to comprehend proceedings.
     (X)   Inquiry made whether defendant is under the care of a
           physician or taking any medication and is able to
           comprehend proceedings.
     (X)   Inquiry made that defendant is satisfied with counsel.
     (X)   Court determined that defendant and counsel have had
           opportunity to read and discuss presentence investigation
           report.
     (X)   Presentence investigation report reviewed in open court.
     (X)   Government moves for downward departure pursuant
           to 5K1.1 - 3 level departure awarded by the court.
     (X)   Court expresses final approval of plea agreement.
     (X)   Counsel for defendant afforded opportunity to speak on
           behalf of defendant.
     (X)   Defendant afforded opportunity to make statement and
           present information in mitigation of sentence.
     (X)   Attorney for government afforded opportunity to make
           statement to court.
     (X)   Court proceeded to impose sentence as follows:

           51 months imprisonment; 3 years supervised release;
           $10,000.00 fine - interest waived
Case 5:08-cr-50026-TLB Document 130   Filed 01/23/09 Page 2 of 2 PageID #: 339



Criminal No. 08-50026-005



     (X)   Defendant ordered to comply with standard conditions of
           supervised release.
     (X)   Defendant denied federal benefits for 5 years.
     (X)   Defendant ordered to pay total special assessment of
           $100.00, for count 6, which shall be due immediately.
     (X)   On motion of government counts 1 & 2 of indictment
           and criminal forfeiture allegation dismissed.
     (X)   Defendant advised of right to appeal sentence imposed.
     (X)   Defendant advised of right to apply for leave to appeal
           in forma pauperis.
     (X)   Appeal packet provided.
     (X)   Defendant remanded to custody of U.S. Marshal.



DATE: JANUARY 23, 2009           Proceeding began: 9:01 am

                                                ended: 9:50 am
